     Case 3:13-cv-00569-MMD-VPC Document 4 Filed 10/17/13 Page 1 of 8




     Richard C. Gordon. Esq.
     Nevada Bar No. 9036
     Catherine M. O’Mara
     Nevada Bar No. 12462
     SNELL & WILMER LIP.
 4   50 W. Liberty Street. Ste. 510
     Reno. Nevada 89501
     Telephone: (775) 785-5440
     Facsimile: (775) 785-5441
 6   rLordon(Iswlaw.com
     cornaraiswl aw.com
 7
     Anornev.sjör DeJi?ndani Wells Fargo Bank. NA
 8

 9                             IN THE UNITED STATES DISTRICT COURT
10
                                           DISTRICT OF NEVADA
11

12   ROBERT A. SLOVAK. an individual                  CASE NO. 3:1 3-cv-00569-RCJ-VPC

13                           Plaintiff.
                                                      WELLS FARGO BANK, N.A.’S
14   vs                                               MOTION TO DISMISS

15   GOLF COURSE VILLAS
     HOMEOWNERS ASSOCIATION GOLF
16   COURSE VILLAS LIMITED
     PARTNERSHIP; WELLS FARGO BANK,
17   N.A.. and DOES I 10. Inclusive.
                         -




18                           Defendants.

19
             COMES NOW I)efendant Wells Fargo Bank, N.A.. (“Wells Fargo’), by and through its
20
     counsel, the law firm of Snell & Wilmer L.L.P., and moves this Court to dismiss Plaintiff Robert
21
     A. Slovaks Complaint with prejudice pursuant to Federal Rule of Civil Procedure 12(b)(6).

     / /1’




24

25

26

27

28
             Case 3:13-cv-00569-MMD-VPC Document 4 Filed 10/17/13 Page 2 of 8



                    This Motion to Dismiss is based on the Memorandum of Points and Authorities herein,

         2   all papers on file with this Court, including the Request for Judicial Notice filed concurrently

         3   herewith, any documents incorporated by reference or attached to the Complaint, and any oral

         4   argument this Court may entertain.

         5           Dated: October 17, 2013                      SNELL & WILMER L.L.P.
         6

         7                                                  By:     /s/ Catherine M. O’Mara
                                                                  Richard C. Gordon, Esq.
         8                                                        Catherine M. O’Mara
                                                                  50 W. Liberty Street, Ste. 510
         9                                                        Reno, Nevada 89501
                                                                  Attorneys/or Defendant Wells Fargo Bank,
        10                                                        NA.
        11                       MEMORANDUM OF POINTS AND AUTHORITIES
        12                                         I.   INTRODUCTION
        13          Pro Se Plaintiff’s Complaint is his second attempt to avoid his payment obligations to

        14   Wells Fargo     In his previous Complaint, Plaintiff unsuccessfully asserted a theory that Wells
=   ‘



        15   Fargo may not foreclose on the Deed of Trust until he was entitled to view an original Note cee

        16   3 13-cv-00162-LRH-VPC         In this case, Plaintiff again seeks to avoid the consequences of his

        17   default, this time by asserting claims for quiet title and declaratory relief. Plaintiff seeks to quiet

        18   title against Wells Fargo who has merely recorded a Deed of Trust, signed by Plaintiff in which

        19   Plaintiff transferred his interest in the subject property to secure a loan of up to $275,000.00.

        20   Plaintiff seeks this relief despite being in default under his loan obligations. Moreover Plaintiff

        21   asserts that a Deed of Trust he executed in favor of Wells Fargo as beneficiary is somehow

        22   deficient and thus title should be clear in Plaintiffs name.       Plaintiff’s assertions lack merit.

        23   Plaintiff has defaulted on his loan obligations and is now using the judicial process to further

        24   delay paying Wells Fargo what it is contractually owed.      Such procedural gamesmanship should

        25   not be tolerated by the Court and mandates the dismissal of Plaintiff’s Complaint in its entirety.

        26                                  IL    FACTUAL BACKGROUND
        27          Plaintiff asserts that he is the current owner of real property located at 928 Northwood

        28   Boulevard #2, Incline Village, NV 89451 (the “Property”). See Compl. at ¶1. Plaintiff acquired
             Case 3:13-cv-00569-MMD-VPC Document 4 Filed 10/17/13 Page 3 of 8



         1   title to the Property on September 16, 1996 by virtue of the Grant, Bargain, Sale Deed. See

         2   Complaint (Doe. 1-1). Exhibit 1. Wells Fargo has recorded a Deed of Trust against the Property
                                                                                              14
                                                                                              /
                                                                                              1
                                                                                              t1
         3   that purportedly encumbers both the subject property as well as an undivided             interest in the

         4   Common Area associated with the subject property. Compi. at ¶14. The Deed of Trust secures a

         5   Loan made by Wells Fargo to Plaintiff in the amount up to $275,000.00 and was signed by

         6   Plaintiff on or about April 19, 2002. See Request for Judicial Notice, Exhibit 1 (the “Deed of

         7   Trust”); Exhibit 2 (the “Loan”).

         8          Plaintiff seeks to quiet title against Wells Fargo who claims an interest in the subject

         9   property as a trust deed beneficiary adverse to Plaintiff.” Compl. at ¶22-23. Plaintiff alleges

        10   that Wells Fargo cannot encumber the Common Area because such encumbrance requires a

        11   membership vote of the Golf Course Villas Homeowners’ Association (“GCV HOA”), and no

        12   such vote ever took place. Compl. at ¶15. Plaintiff concludes that Wells Fargo is limited to

    ;   13   recording its Deed of Trust against Parcel 1 Compl at ¶16

        14          Plaintiff also alleges a claim for Declaratory Relief seeking a ‘determination of the rights
-




        15   and duties of the parties associated with the Property as well as a declaratory judgment against

        16   defendants in an amount to be determined at trial,” plus attorneys fees and costs           Compi at

        17   ¶J25-26, 28. Plaintiff also asserts that as a result of the alleged negligence and/or misconduct of

        18   Wells Fargo, GCV and Golf Course Villas Homeowners’ Association (“GCV HOA”), Plaintiff is

        19   unable to transfer ownership in his property free of legal uncertainty. Compl. at ¶27.

        20          Plaintiff seeks judgment quieting title in his favor, a declaration of the rights and duties of

        21   the parties (specifically a declaration that Wells Fargo lacks a valid interest in the Property), a

        22   temporary restraining order and preliminary and permanent injunction on behalf of Plaintiff

        23   against Wells Fargo, as well as costs and other relief deemed just under the circumstances. See

        24   Compi., generally at p.S. Plaintiff seeks all remedies despite being in default under the Loan

        25   Agreement and Deed of Trust.

        26

        27

        28

                                                              3
         Case 3:13-cv-00569-MMD-VPC Document 4 Filed 10/17/13 Page 4 of 8



                                                  III.   ARGUMENT
         A.        Legal Standard.
     2
                   Federal Rule of Civil Procedure 12(b)(6) mandates that a court dismiss a cause of action

         that fails to state a claim upon which relief can be granted. See North Star Inti. v. Arizona Corp.

         Coinrn’n., 720 F.2d 578, 581 (9th Cir.1983). When considering a motion to dismiss under Rule

          2(b)(6) for failure to state a claim, dismissal is appropriate when the complaint does not give
     6
         the defendant fair notice of a legally cognizable claim and the grounds on which it rests. See Bell

         At!.   Corp. i’.   Twomblv, 550 U.S. 544. 555 (2007). In considering whether the complaint is
     8
         sufficient to state a claim, the Court will take all material allegations as true and construe them in

         the light most favorable to the plaintiff. See NL Indus., Inc. v. Kaplan, 792 F.2d 896, 898 (9th
    10
         Cir.1986).

                   The Court. however, is not required to accept as true allegations that are merely

         conclusory. unwarranted deductions of fact, or unreasonable inferences. See Sprewel!        i’.   Golden
    13
-        Stak JJaiiio,s 266 F 3d 979 988 (9th Cii 2001) A tormulaic recitation of a cause of action
    14
         with conclusory allegations is not sufficient a plaintiff must plead facts showing that a iolation
    15
         is plaucible not just possible Ashciofl v Igbal 129 S Ct 1937 1949 (2009) (citing Twombly

         550 U S at 555) (emphasis added)

                   Materials that are attached to or incorporated by reference in the complaint, or are matters
    18
         of judicial notice, may be considered in a Rule l2(b)(6) motion. U,iited States v. Ritchie. 342
    19
         F.3d 903, 908 (9th Cir. 2003).       A document is incorporated by reference if the document is
    20
         attached to the complaint, referred to extensively in the complaint, or forms the basis of a
    21
         plaintiffs claim. Id. at 908. Additionally, a district court may consider materials in a 12(h)(6)

         motion to dismiss that are not part of the pleadings but that are “matters of public record” of

         which the court may take judicial notice pursuant to Federal Rule of Evidence 201. Lee v, City

         ofLos Angeles, 250 F.3d 668, 688 (9th Cir. 2001).
    25
         B.        Plaintiffs Claim for Quiet Title Fails as a Matter of Law.
    26
                   Nevada statutes recognize an action for quiet title: “[am action may be brought by any

         person against another who claims an estate or interest in real property, adverse to him, for the

                                                             4
         Case 3:13-cv-00569-MMD-VPC Document 4 Filed 10/17/13 Page 5 of 8



     1   purpose of determining such adverse claim.” NRS           §   40.010.   To quiet title in his name.

     2   Plaintiff must do more than just challenge the title of Wells Fargo. Plaintiff must establish that

     3   he has good title. Breliant v. Pre/’rred Equities Corp.. 918 P.2d 3 14. 31 8 (Nev. 1996) (holding

     4   that [i]n a quiet title action. the burden of proof rests with the plaintiff to prove good title in

     5   himself”) Additionally, an action to quiet title requires a plaintiff to allege that he has paid

     6   any debt owed on the property. Biancliard v. JP Morgan Chase Bank. 2012 U.S. Dist. LEXIS

     7   38051, 2012 WL 959353 (D. Nev. Mar. 21, 2012).                Moreover. Plaintiff is not entitled to

     8   equitable relief when he has failed to first tender and do equity himself Collins v. Union Fed.

     9   Say. & Loan Assn., 662 P.2d 610, 622 (Nev. 1983).

    10            Here, Plaintiff argues that Wells Fargo is not entitled to the full interest Plaintiff

    11   granted to it as beneficiary under the Deed of Trust because, as to the common area, a vote by

    12   the HOA was required and no such vote ever took place. Even assuming for the sake of this

    13   Motion that a vote was both required and never took place in order for the 1/14 interest in the

    14   Common Area to be transferred Plaintiff is unable to quiet title in his faor          Plaintiff must
=
    15   sho that he has clcai title to the Propeity and he cannot          Plaintiff neer alleges any facts

    16   demonstrating that he possesses good title to the Property or that he has paid any debt owed on

    17   the Property. (See generally Compl.) Accordingly. Plaintiff cannot establish a right to quiet

    18   title.

    19            Moreover, Plaintiff has no interest in the Property that is adverse to Wells Fargo, as is an

    20   essential element of an action to quiet title. Plaintiff expressly agreed to and executed the Deed

    21   of Trust, which authorizes the beneficiary to sell the Property if Plaintiff defaults on the terms of

    22   the Note and Deed of Trust. Deed of Trust, ¶9. Failure to make payments is a default. Id. at ¶8.

    23   Under the Deed of Trust, Plaintiff “irrevocably grants, bargains, conveys and sells to Trustee, in

    24   trustee for the benefit of Lender with power of sale” the Property. Id. at ¶2. Because Plaintiff

    25   expressly agreed to the terms of the Deed of Trust when he agreed to borrow funds to purchase

    26   the Property. nothing in the Deed of Trust is adverse to Plaintiffs interest in the Property. Thus

    27   as a matter of law, Plaintiff has no interest adverse to Wells Fargo’s.

    28

                                                           5
                   Case 3:13-cv-00569-MMD-VPC Document 4 Filed 10/17/13 Page 6 of 8



               i   C.      Plaintiff’s Claim for Declaratory Relief Fails as a Matter of Law.

               2           The Declaratory Judgment Act gives federal courts discretion to issue declaratory

                   judgments. but only if an actual controversy exists in the courfs jurisdiction. See 28 U.S.C.        §
                   2201(a); American States his. Co. v. Kearns. 15 F.3d 142. 143 (9th Cir. 1994). The Act does not

                   provide an independent cause of action. S. Jackson & Son, Inc.           i’.   Co/je, Sugar & Cocoa

               6   Exchange. Inc.. 24 F.3d 427. 431 (2d Cir. 1994).        Instead, declaratory relief is a request for a

                   remedy, which depends upon the existence of some underlying cause of action. Hearne, 2010

               8   WL 1815424. at *5; Aguilar v. WMC Mortgage Corp., No. 3:08—cv—0500--ECR—RAM, 2010 WL

                   185951, at *4 (D. Nev. Jan 15, 2010.) The threshold question before determining if a declaratory

              10   judgment is proper is whether there is an actual controversy between parties who have adverse

              11   legal interests. S. Jackson & Son, Inc. v. Co/je, Sugar & Cocoa Exchange, Inc., 24 F.3d 427, 431

              12   (2dCir. 1994).

              13           Plaintiff seeks a determination of the rights and duties of the parties associated with the

              14   Propert as el1 as a declarator judgment against defendants in an amount to be deteirnini...d at
      -




              15   tiial   plus attoine’s lees and costs     Compi at j25-26 28          Like his claim for quiet title

              16   Plaintiffs claim for declaratory relief fails as a matter of law because there is no actual
‘J)       E

              i7   controversy between Plaintiff and Wells Fargo. Wells Fargo recorded a Deed of Trust executed

              18   and signed by Plaintiff in consideration for the Loan. Because Plaintiff agreed to the terms of the

              19   Deed of Trust, he cannot now assert that his interests are legally adverse to Wells Fargo. Further,

              20   as a claim for declaratory relief is not a separate substantive claim for relief, and because Plaintiff

              21   has failed to properly allege a claim for quiet title against Wells Fargo, the court need not discuss

              22   the likelihood of success on the merits of the claim for declaratory relief See Velazquez v. Mortg.

              23                      ys.. 2011 U.S. Dist. LEXIS 48898, 8-9, 2011 WL 1599595 (D. Nev. Apr. 27.
                   Elec. Registration 5

              24   2011) citing Stock West, Inc. v. Con/’derated Tribes of Co/yule Reservation, 873 F.2d 1 221. 1225

              25   (9th Cir. 1989).

              26   Il!
                   //i
              27

              28

                                                                     6
     Case 3:13-cv-00569-MMD-VPC Document 4 Filed 10/17/13 Page 7 of 8



 1                                        IV.    CONCLUSION

 2          As set forth herein, Wells Fargo’s Motion to Dismiss pursuant to Fed. R. Civ. P. 12(b)(6)

 3   should be granted in its entirety and Plaintiffs Complaint should be dismissed with prejudice.

 4          Dated: October 17, 2013                     SNELL & WILMER L.L.P.



 6                                                By:     /s/ Catherine M. O’Mara
                                                        Richard C. Gordon, Esq.
 7                                                      Catherine M. O’Mara
                                                        50 W. Liberty Street, Ste. 510
 8                                                      Reno, Nevada 89501
                                                        Attorneys for Defendant Wells Fargo Bank,
 9                                                      NA.
10

ii

12

13
     ____________




     Case 3:13-cv-00569-MMD-VPC Document 4 Filed 10/17/13 Page 8 of 8




                                           CERTIFICATE OF SERVICE
 2

 3              I, the undersigned, declare under penalty of perjury, that I am over the age of eighteen

 4   (18) years, and I am not a party to, nor interested in, this action. On this date, I caused to be

 5   served a true and correct copy of the foregoing WELLS FARGO BANK, N.A.’S MOTION

 6   TO DISMISS by the method indicated:

 7              X              U.S. Mail

 8                             U.S. Certified Mail

 9              X              Facsimile Transmission

10                             Overnight Mail

11                             Federal Express

12                             Hand Delivery

‘3
     and addressed to the following:
‘4
     Robert A. Slovak
15
     P.O. Box 5050
16   Incline Village, NV 89450-5050
     Facsimile: (714) 736-0153
17
     Plaintiff
18

19
                DATED: October 17, 2013
20
                                                           /5/ Dawn Calhoun
21                                                    An Employee of Snell & Wilmer LLP
     18086040
22

23

24

25

26

27

28

                                                          8
